          Case 1:17-cv-00445-RP Document 1-1 Filed 05/12/17 Page 1 of 27



                             UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION


KAETHE G. JOHNSON,                      §
                                        §
              Plaintiff,                §
                                        §
     v.                                 §     C.A. No.   1:17-cv-445
                                        §
WASHINGTON NATIONAL                     §
INSURANCE COMPANY,                      §
                                        §
              Defendant.                §



              WASHINGTON NATIONAL INSURANCE COMPANY’S
                    INDEX OF STATE COURT MATTERS

     State Court Document                                  Date Filed

1.   Travis County Docket Sheet                            N/A

2.   Citation                                              04/17/2017

3.   Plaintiff’s Original Petition & Request for
     Disclosure (as served on Washington National
     Insurance Company)                                    04/17/2017

4.   Executed Service                                      04/24/2017




WASHINGTON NATIONAL INSURANCE COMPANY’S
INDEX OF STATE COURT MATTERS                                                PAGE 1


                                                                       EXHIBIT A
        Case 1:17-cv-00445-RP Document 1-1 Filed 05/12/17 Page 2 of 27



                  12 2017
      Dated: May ____,
                                           Respectfully submitted,


                                           By:     s/ Nicole H. Muñoz
                                                   Andrew G. Jubinsky
                                                   Texas Bar No. 11043000
                                                   andy.jubinsky@figdav.com
                                                   Nicole H. Muñoz
                                                   State Bar No. 24098153
                                                   nicole.munoz@figdav.com
                                           FIGARI &DAVENPORT, L.L.P.
                                           3400 Bank of America Plaza
                                           901 Main Street
                                           Dallas, Texas 75202
                                           Telephone: (214) 939-2000
                                           Facsimile: (214) 939-2090
                                           ATTORNEYS FOR WASHINGTON NATIONAL
                                           INSURANCE COMPANY


                              CERTIFICATE OF SERVICE

      This is to certify that a true and correct copy of the foregoing document has been served
on the parties listed below on May ____,
                                    12 2017:
      Matthew J. Riley
      John P. Cowart
      SHAW COWART, LLP
      1609 Shoal Creek Boulevard
      Suite 100
      Austin, TX 78701
      ATTORNEYS FOR PLAINTIFF

                                               s/ Nicole H. Muñoz

                                           Nicole H. Muñoz




WASHINGTON NATIONAL INSURANCE COMPANY’S
INDEX OF STATE COURT MATTERS                                                            PAGE 2


                                                                                   EXHIBIT A
Online Case Information                                                    Page 1 of 2
            Case 1:17-cv-00445-RP Document 1-1 Filed 05/12/17 Page 3 of 27




(/)



      DISTRICT CLERK                   You are here:   Home (/)   District Clerk (/district-clerk)   Online Case Information

       About (/district-
       clerk/about)                    Online Case Information
       Online Case Information          Details
       (/district-clerk/online-case-
                                        Updated : Wednesday, May 10, 2017 5:14:20 AM
       information)

                                          New Search (/OnlineCaseInformationWeb/)
       Online Payment (/district-
       clerk/online-payments)                Request Documents (/OnlineCaseInformationWeb/Content/record_search_fillable.pdf)

       Jury Duty (/district-
       clerk/jury-duty)                             Cause Number       D-1-GN-17-001688
                                                      Case Status      PENDING
       Information & Resources                                Style    JOHNSON V WASHINGTON NATIONAL
       (/district-clerk/resources)                      Filed Date     4/17/2017
                                                     Hearing Date      --
       Passport Information
       (/district-clerk/passport)
                                        Attorney                      Type            Full/Business Name         First Name    Middl
       Attorney Access to Records
                                                                      DEFENDANT WASHINGTON
       Online (/district-
                                                                                NATIONAL INSURANCE
       clerk/public-access)
                                                                                COMPANY

       E-Filing (/district-             RILEY MATTHEW                 PLAINTIFF                                  KAETHE        G
       clerk/efiling)                   JOSEPH

       Contact Information
       (/district-clerk/contact)        Event Date     Party Type Description
                                        4/24/2017      DF             EXECUTED SERVICE
                                        4/17/2017      DF             ISS:CITATION
      IN THE NEWS                       4/17/2017      PL             ORIGINAL PETITION/APPLICATION



                                          New Search (/OnlineCaseInformationWeb/)


      (/district-clerk/online-
      case-information)

      Online Case Information
      (/district-clerk/online-
      case-information)




      (/district-clerk/online-
      payments)




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https://www.traviscountytx.gov/district-clerk/online-case-information                                                    5/10/2017
     0
                  Case 1:17-cv-00445-RP Document 1-1 Filed 05/12/17 Page 4 of 27
                                                                                                                  DELIVERE
                                                     C_I_ T A_ T I O N                                           ~ 1Lf / l
                                         T H E S T A T E 0 F T E X A S                                  By.    •!'46d4Vtf'L4f     .
                                             CAUSE NO. D-1 -G N-1 7-001688                              Austin Process, LLC

KAETHE G. JOHNSON
                                                                                                          , Plaintiff
      vs.
WASHINGTON NATIONAL INSURANCE COMPANY
                                                                                                          , Defendant

T0: WASHINGTON NATIONAL INSURANCE COMPANY .
     BY SERVING ITS REGISTERED AGENT, CORPORATION SERVICE COMPANY
     211 EAST 7TH STREET, STE. 620
     AUSTIN, TEXAS 78701-3218

Defendant, in the above styled and numbered cause:

YOU HAVE BEEN SUED. You may employ an attorney. If you or your attorney do not file a written
answer with the clerk who issued this citation by 10:00 A.M. on the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may
be taken against you.

Attached is a copy of the PLAINTIFF'S ORIGINAL PETITION AND REQUEST FOR DISCLOSURE of the PLAINTIFF
in the above styled and numbered cause, which was filed on APRIL 17, 2017 in the 250TH JUDICIAL
DISTRICT COURT of Travis County, Austin, Texas.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at office, April 17, 2017.

REQUESTED BY:                                                                                                    ~
MATTHEW J. RILEY                                                   ~
1609 S!-IOAL CREEK BLVD. , STE. 100
AUSTI.N, TX 78701                                                  '             Vefva L. Price
BUSINESS PHONE: (512) 499-8900 FAX: (512) 320-8906                               Travis CountY District Cierk
                                                                                 Travis County Courthouse
                                                                                 1000 Guadalupe, P.O. Box 679003 (78767)
                                                                                 Austin, TX 78701
                                                                                 PREPARED BY: CARRISA ESCALANTE

      -- - -- - -- - -- - -- - =- R E T U R N --                                  - -- - -- - -- - -- - --
Came to hand on the             day of                      ,                at               o'clock       M., and
executed at                                                                          within the County of
                            on the          day of                           ,            , at             o'clock        M.,
by delivering to the within named                                                                                      , each
i-n person, a true copy of this citation togbther with the PLAINTIFF'S ORIGINAL PETITION AND REQUEST
FOR DISCLOSURE accompanying pleading, having first attached such copy of such citation to such copy
of pleading and endorsed on such copy of citation the date of delivery.

Service Fee: $
                                                                       Sheriff / Constable / Authorized Person
Sworn to and subscribed before me this the ,
                                                                       By:
         day of                      ,
                                                                       Printed Name of Server


                                                                                                                  County, Texas
Notary Public, THE STATE OF' TEXAS

D-1-GN-17-001688                                          SERVICE FEE NOT PAID                                  P01 - 000050726
® Original             ®Service Copy




                                                                                                           EXHIBIT A
         Case 1:17-cv-00445-RP Document 1-1 Filed 05/12/17 Page 5 of 27

                                                                              4/17/2017 3:28:55 PM
                                                                                                  Velva L. Price
                                                                                                 District Clerk
                                                                                                 Travis County
                                         CAUSE NO: D-1-GN-17-001688                           D-1-GN-17-001688
                                                                                              Carrisa Escalante
KAETHE G. JOHNSON                                              §     IN THE DISTRICT COURT OF
    Plaintiff                                                  §
                                                               §
VS.                                                            §        TRAVIS COUNTY, TEXAS
                                                               §
WASHINGTON NATIONAL                                            §
INSURANCE COMPANY                                              §
     Defendant                                                 §     250TH JUDICIAL DISTRICT
         PLAINTIFF'S ORIGINAL PETITION AND REQUEST FOR DISCLOSURE

         Plaintiff, Kaethe G. Johnson, files ;this original petition against Defendant, Washington

National Insurance Company ("Washirigton National"), and alleges as follows:

                                         DISCOVERY-CONTROL PLAN

1.       Plaintiff intends to conduct discovery under Level 3 of Rule 190 of the Texas Rules of

Civil Procedure and affirmatively pleads that this suit is not governed by the expedited-actions

process in Texas Rule of Civil Procedure 169 because Plaintiff seeks monetary relief over

$] 00,000. Therefore, Plaintiff will ask , the court to order that discovery be conducted in

accordance with a discovery control plan tailored to the particular circumstances of this suit.

                                                 CLAIM FOR RELIEF

2.       Plaintiff seeks monetary relief over $200,000 but not more than $1,000,000.

                                                           PARTIES

3.       Plaintiff, Kaethe G. Johnson, is an individual residing in Travis County, Texas.

4.        Defendant, Washington National Insurance Company, is an insurance company

organized under the laws of the State of Indiana, and authorized to engage in the insurance

business in Texas. .Defendant may be tserved with process by serving its Registered Agent,

Corporation Service Company, 211 East 7rh Street, Suite 620, Austin, Texas 78701-3218.



Plaintiff s Original Petition and Request for Disclosure                                    Page 1 of 9




                                                                                             EXHIBIT A
         Case 1:17-cv-00445-RP Document 1-1 Filed 05/12/17 Page 6 of 27




                                                          VENUE

5.       Venue is proper in Travis County under Texas Civil Practice & Remedies Code section

15.002 because all or a substantial part of the events or omissions giving rise to the claim

occurred in Travis County, Texas.

                                                          FACTS

6.       On February 21, 2002, Plaintiff Kaethe Johrison entered into a long-term care insurance

policy with Defendant Washington National Insurance Company. In September. of 2016, while

Plaintiff was receiving long-term care benefits under the. terms of the contract, Defendant

suddenly denied coverage. Somewhat'surprisingly, the stated reason for denying coverage goes

back to a late payment from over three (3) years earlier, when Plaintiff was late on one payment.

However, that issue was corrected back in 2013, shortly after it happened. Defendant's attempts

to bring this late payment up now, over three years later — are disappointing and inconsistent

with the policy and the actions and representations of the Defendant.

7.       The first page of the insurance:contract at issue plainly states, "This policy is guaranteed

renewable for your lifetime. We cannot cancel this Policy as long as you pay the premiums, and

you have not exhausted your Benefit Account Value." Plaintiff has paid her premiums, and has

not exhausted her Benefit Account Value. She is, therefore, entitled to benefits.

8.       From March 27, 2016, to April 20; 2016, Plaintiff went three weeks without continuous

care, as she moved to a new city and sought out a new care provider. During this time, no bills

or invoices were sent to Plaintiff and no,demand for premium payment was made.

9.       Plaintiff was back into a continuous care condition by April 20, 2016. Per the policy,

Plaintiff does not owe premiums while under continuous care and receiving claim benefits.

Further, the policy states on page 12 that "when a claim is paid, any premium due and unpaid


Plaintifrs Original Petition and Request for Disclosure                                     Page 2 of 9




                                                                                               EXHIBIT A
          Case 1:17-cv-00445-RP Document 1-1 Filed 05/12/17 Page 7 of 27




may be deducted from the claim payment." Thus, if Plaintiff did owe a premium payment for

the three weeks she went without care, that premium should have just been deducted from the

next claim payment. There, again, is no justification for canceling the policy.

10.      Additionally, the policy calls for: a 65-day grace period for late premium payments, and

requires that Defendant provide written" notice of imminent lapse, at least 30 days before the

policy lapses. Defendant did not do this and is therefore in breach of the contract.



                                                 CAUSES OF ACTION

                                             COUNT 1 — NEGLIGENCE

11.      Defendant had a duty to comply with its contractual terms with regard to written notice,

lapse, grace periods, and cancellation of the contract.

12.      Defendant breached that duty.by: failing to keep Plaintiff informed, failing to provide

written notice, and attempting to cancel the..eontract in a manner inconsistent with the contract.

13.      Defendant's breach was the proxiniate cause of Plaintiff's damages, which include loss of

policy proceeds and emotional stress and mental anguish.

                                    COUNT 2— BREACH OF CONTRACT

14.      The insurance policy constituted a contract between the parties that represented the terms

and conditions under which each party was to perform. Defendant breached the contract by not

paying Plaintiff's claim as beneficiary. despite the fact that all premiums were paid and all of

Plaintiff's contractual obligations had been complied with. As a direct and proximate result of

Defendant's contractual breach, Plaintiff has suffered damages within the jurisdictional limits of

this Court.




Plaintiff's Original Petition and Request for Disclosure                                   Page 3 of 9




                                                                                          EXHIBIT A
         Case 1:17-cv-00445-RP Document 1-1 Filed 05/12/17 Page 8 of 27




         COUNT 3— BREACH OF DUTY OF GOOD FAITH AND FAIR DEALING:
                              BANNER LIFE

15.       Defendant's conduct constitutes a breach of the common law duty of good faith and fair

dealing owed to insured parties in insuranee contracts.

16.       Defendant had a duty to deal fairly and in good faith with Plaintiff in processing and

determining her claim. Defendant breaclied this duty by refusing to properly investigate. the

claim and by wrongfully denying Plairitiff's claim as a beneficiary of insurance proceeds.

Defendant knew or should have known there was no reasonable basis for denying the claim. As

a proximate result of Defendant's breach of these legal duties, Plaintiff has suffered economic

damages and damages for loss of benefits under the policy within the jurisdictional limits of this

Court. Additionally, Plaintiff suffered..injury independent of the loss of policy benefits, and that

injury resulted from Defendant's gross -.negligence, malice, or actual fraud, which entitles

Plaintiff to exemplary damages under Texas Civil Practice & Remedies Code section 41.003(a).

      COUNT 4— VIOLATION OF TEXAS INSURANCE CODE § 541.060 AND §541.061

17.       Plaintiff is a person as defined by Texas Insurance Code § 541.002(2).

18. . Defendant is a person as defined by'Texas Insurance Code § 541.002(2).

19.       Defendant engaged in acts or piactices that violated;

          (A)       Texas Insurance Code Chapter 541, subchapter B; arid

          (B)       Texas Business & Commerce Code § 17.46(b), and the Plaintiff relied on the acts

                    or practices to her detrirnent:

20.       Defendant's acts or practices were. a producing cause of actual damages to Plaintiff.

21.       Defendant misrepresented the terms of the insurance policy by making an untrue

statenient of materia) fact, in violation of Texas Insurance Code § 541.060(a)(1).



Plaintiff's Original Petition and Request for Diselosure                                    Page 4 of 9




                                                                                            EXHIBIT A
         Case 1:17-cv-00445-RP Document 1-1 Filed 05/12/17 Page 9 of 27




22.      Defendant misrepresented the terins of the insurance policy by making an untrue

statement of material fact, in violation of Texas Insurance Code § 541.061(1).

23.       Defendant misrepresented the terms of the insurance policy by failing to state a material

fact that is necessary to make other statements made not misleading, in violation of Texas

Insurance Code .§ 541.061(2).

24.       Defendant misrepresented the terms of the insurance policy by making a statement in a

manner that would mislead a reasonably,prudent person to a false.conclusion of material fact, in

violation of Texas Insurance Code § 541.061(3).

25.      Defendant knowingly committed the foregoing acts, with actual knowledge of the falsity,

unfairness, or deception of the foregoing acts and practices in violation of Texas Insurance Code

§ 541.002(1). Defendant's violations of. the Texas Insurance Code were a producing and/or

proximate cause of Plaintiff s legal damages, including economic damages, and additional

damages allowed by law.

         COUNT 5— VIOLATION OF THE DECEPTIVE TRADE PRACTICES ACT

26.      Plaintiff is a consumer under the DTPA.

27.      Defendant is an insurance compainy engaged in the business of insurance and can be sued

under the DTPA.

28.      Defendant violated the DTPA when Defendant used or employed acts or practices in

violation of Texas Insurance Code Chapter 541 and Texas Business & Commerce Code

§ 17.46(b)(5), (7) and (14). Defendant's violations of the Deceptive Trade Practices Act were a

producing and/or proximate cause of Plaintiff's damages, including economic damages, and

additional damages as allowed by law. _




Plaintiffs Original Petition and Request for Disclosure.                                  Page 5 of 9




                                                                                         EXHIBIT A
            Case 1:17-cv-00445-RP Document 1-1 Filed 05/12/17 Page 10 of 27




             COUNT 6— VIOLATIONS OF.TEXAS INSURANCE CODE CHAPTER 542
                        ("PROMPT PAYMENT OF CLAIMS ACT")

    29.      Plaintiff had a claim under an insuiance policy.

    30.      Plaintiff gave proper notice of its claim to the insurer, Defendant herein.

    31.      Defendant is liable for the claim.

    32.      Defendant violated Chapter 542 of the Texas Insurance Code by not timely:

             (A)       acknowledging, investigating, or requesting information about the claim;

             (B)       accepting, rejecting, or extending time to decide the claim; and

             (C)       paying the claim.

    33.      Defendant failed to properly investigate Plaintiff's claim by the time period required

    under the Act and then wrongfully rejected Plaintiff's claim. By failing to pay a valid claim

    within sixty (60) days of receiving all ..items requested from Plaintiff, Defendant is liable to

    Plaintiff for the original claims. Pursuant to Chapter 542.060 of the Texas Insurance Code,

    Plaintiff is further entitled to recover.statutory damages on the amount that should have been

    paid under the original claim in the amount of 18% of the full amount awarded to Plaintiff at the

'   trial of this case.

                                                      COUNT 7 — FRAUD

    34.      Defendant is liable to Plaintiff for common law fraud.

    35.      Defendant represented to Plaintiff that Plaintiff had a valid and active insurance policy

    and contract. The statements were made with the intention that they should be acted upon by

    Plaintiff, who in turn acted in reliance upon the statements, thereby causing Plaintiff to suffer

    injury and constituting common law fraud.

    36.      Each of the representations concerned material facts, which Defendant knew was false or

    made recklessly without any knowledge of the truth as a positive assertion.                       ~

    Plaintifrs Original Petition and Request for Disclosure                                       Page 6 of 9




                                                                                                      EXHIBIT A
         Case 1:17-cv-00445-RP Document 1-1 Filed 05/12/17 Page 11 of 27




                                                           DAMACES

37.       Plaintiff would show that all of the aforementioned acts, taken together or singularly,

constitute the producing causes, of the damages sustained by Plaintiff.

38.       For negligence, Plaintiff is entitled ,to actual damages for the loss of policy proceeds and

damages for emotional stress and mental.anguish.

39.       For breach of contract, Plaintiff is. entitled to regain the benefit of the bargain, which is

the amount of her claim, together with attorney fees.

40.       For breach of duty of good faith and fair dealing, Plaintiff is entitled to compensatory

damages, including all forms of loss resulting from the insurer's breach of duty, such as

additional costs, economic hardship, losses due to nonpayment of the amount the insurer owed,

exemplary damages and damages for: emotional distress. Additionally, Plaintiff is entitled to

compensatory damages, including all forms of loss resulting from Defendant's conduct.

41.       For noncompliance with the Texas Insurance Code Chapter 541, Plaintiff is entitled to

actual damages, which include the loss of the benefits that should have been paid pursuant to the

policy, mental anguish, court costs .and attorney's fees. For knowing conduct of the acts

complained of, Plaintiff requests three times her actual damages. Texas Insurance Code

§ 541.152.

42:       For violation of the DTPA, Plaintiff is entitled to economic damages, and, mental anguish

damages, court costs and attorney's fees. Plaintiff requests three times her actual damages.

Texas Insurance Code § 541.152 and Texas Business & Commerce Code § 17.50:

43.       For noncompliance with Texas Insurance Code Chapter 542, Prompt Payment of Claims,

Plaintiff is entitled to the amount of her claim, as wcll as eighteen (18) percent interest per




Plaintiff's Original Petition and Request for Disclosure                                     Page 7 of 9




                                                                                               EXHIBIT A
         Case 1:17-cv-00445-RP Document 1-1 Filed 05/12/17 Page 12 of 27




annum of the amount of such claim as damages, together with attorney's fees. Texas Insurance

Code § 542.060(a).

44.       For fraud, Plaintiff is entitled to r"ecover actual damages and exemplary damages for

knowing fraudulent and malicious representations, along with attorney's fees, interest and court

costs.

                                                     KNOWLEDGE

45.       Each of the acts described above, together and singularly, was done "knowingly" as that

term is used in the Texas Insurance Code § 541.002(1) and was a producing cause of Plaintiff s

damages described herein.

                                                 ATTORNEY'S FEES

46.      Defendant's conduct, as described .,in this Petition, has necessitated the employment by

Plaintiff of the undersigned attorney. Plaintiff is entitled to recover a reasonable sum for the

necessary services of Plaintiff's attorney in the preparation of trial of this action, including any

appeals to the Court of Appeals or the Texas Supreme Court.

                                                    JURY DEMAND

47.       Plaintiff demands a jury trial and .tenders the appropriate fee with this petition.

                                         REQUEST FOR DISCLOSURE

48.      Under Texas Rule of Civil Procedure 194, Plaintiff requests that Defendant disclose,

within 50 days of the service of this request, the information or material described in Rule 194.2.

                                                           PRAYER

49.      For these reasons, Plaintiff asks'that the Court issue citation for Defendant to appear and

answer, and that Plaintiff be awarded a judgment against Defendant for the following:

         a.        Actual damages.


PlaintifPs Original Pelition and Request for Disclosure'                                        Page 8 of 9




                                                                                                  EXHIBIT A
         Case 1:17-cv-00445-RP Document 1-1 Filed 05/12/17 Page 13 of 27




         b.         Treble damages.

         C.         Exemplary damages.

         d.         Prejudgment and postjudgment interest.

         e.         Court costs.

          f.        Attorney fees.

         g.         All other relief to which Plaintiff is entitled.


                                                             Respectfully submitted,


                                                             SHAW COWART, LLP




                                                              MATTHEW J. RILEY
                                                              Texas Bar No. 24070500
                                                              mrilevna,shawcowart.com
                                                              JOHN P. COWART
                                                           :. Texas Bar No. 04919500
                                                              jcowart ,shawcowart.com
                                                              1609 Shoal Creek Blvd., Ste. 100
                                                              Austin, Texas 78701
                                                              T: 512.499.8900 / F: 512.320.8906

                                                             ATTORNEYS FOR PLAINTIFF



                              Plaintiff respectfully requests a trialjury.
                                                                      by.




Plaintiff s Original Petition and Request for Disclosure                                          Page 9 of 9




                                                                                                  EXHIBIT A
               Case 1:17-cv-00445-RP Document 1-1 Filed 05/12/17 Page 14 of 27



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                                  $20.00 for first half hour attorney consultation
                  (free consultations for personal injury, malpractice, worker's compensation,
                                    bankruptcy, and social security disability)

                          This service is certifled as a lawyer referral service as required by the state of Texas
                                       under Chapter 952; Occupations Code. Certificate No. 9303




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                              .,.
                                                     51.2-472-8303
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                       (la consulta es gratis si'se trata de dano personal, negligencia,
                 indemnizacion al trabajador, bancarrota o por incapacidad del Seguro Social)

                          This service is certified as a lawyer referrai service as required by the State of Texas
                                       under Chapter 952, Occupations Code. Certificate No. 9303




                                                                                                                     EXHIBIT A
Case 1:17-cv-00445-RP Document 1-1 Filed 05/12/17 Page 15 of 27




                                                          EXHIBIT A
Case 1:17-cv-00445-RP Document 1-1 Filed 05/12/17 Page 16 of 27




                                                             EXHIBIT A
         Case 1:17-cv-00445-RP Document 1-1 Filed 05/12/17 Page 17 of 27



                              UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION


KAETHE G. JOHNSON,                           §
                                             §
               Plaintiff,                    §
                                             §
       v.                                    §      C.A. No.
                                             §
WASHINGTON NATIONAL                          §
INSURANCE COMPANY,                           §
                                             §
               Defendant.                    §


                             AFFIDAVIT OF KIMBERLY MARTIN

       KIMBERLY MARTIN (“Affiant”), being first duly sworn upon her oath, deposes and states:

       1.      Affiant is an adult fully competent to testify and makes this Affidavit on personal

knowledge.

       2.      Affiant is the Supervisor, Business Integrity Unit, for CNO Services, LLC in

Chicago, Illinois.

       3.      In such capacity, Affiant performs services for Washington National Insurance

Company (“Washington National”) related to its insurance operations, and she is familiar with

Washington National’s insurance policies, administration of insurance policies, and business and

record-keeping practices.

       4.      On or about April 16, 2002, a predecessor of Washington National issued Federal

Qualified Long Term Care Insurance Policy, number *****2611 (the “Policy”), to Kaethe G.

Johnson (“Plaintiff”).




                                                                                       EXHIBIT B
AFFIDAVIT OF KIMBERLY MARTIN                                                              PAGE 1
Case 1:17-cv-00445-RP Document 1-1 Filed 05/12/17 Page 18 of 27




                                                          EXHIBIT B
Case 1:17-cv-00445-RP Document 1-1 Filed 05/12/17 Page 19 of 27




                   EXHIBIT 1



                                                           EXHIBIT B -1
Case 1:17-cv-00445-RP Document 1-1 Filed 05/12/17 Page 20 of 27




                                                     EXHIBIT B -1
Case 1:17-cv-00445-RP Document 1-1 Filed 05/12/17 Page 21 of 27




                                                     EXHIBIT B -1
Case 1:17-cv-00445-RP Document 1-1 Filed 05/12/17 Page 22 of 27




                                                              EXHIBIT B -1
Case 1:17-cv-00445-RP Document 1-1 Filed 05/12/17 Page 23 of 27




                                                                  EXHIBIT B -1
Case 1:17-cv-00445-RP Document 1-1 Filed 05/12/17 Page 24 of 27




                                                                  EXHIBIT B -1
Case 1:17-cv-00445-RP Document 1-1 Filed 05/12/17 Page 25 of 27




                                                        EXHIBIT B -1
Case 1:17-cv-00445-RP Document 1-1 Filed 05/12/17 Page 26 of 27




                                                          EXHIBIT C
Case 1:17-cv-00445-RP Document 1-1 Filed 05/12/17 Page 27 of 27




                                                         EXHIBIT C
